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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 19-1222                                                     September Term, 2020
                                                                              EPA-84FR44547
                                                       Filed On: April 5, 2021 [1893134]
Environmental Defense Fund,

                   Petitioner

         v.

Environmental Protection Agency,

                   Respondent


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Consolidated with 19-1227

                                          MANDATE

      In accordance with the order of April 5, 2021, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Manuel J. Castro
                                                              Deputy Clerk




Link to the order filed April 5, 2021
